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Case 2:04-Cr-20058-BBD Document 48 Filed 07/20/05 Page 1 of 2 Page|D 53

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
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UNITED STATES OF AMERICA, . ncr ,';
W!D OF ;r'.:. m;:%.#PHlS
Plaintiff,
vs. Case No. 2:04cr2005 S»D
David Robert Giles

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the surn of $500.00,
payable to David Robert Giles at 4047 Ronnie Ave., Memphis, TN 38128 in full refund of the cash

appearance bond posted herein.

  

      

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Date: 7¢'/’#;'§@.$
Approved.
Tho M. Gould, Clerk of ourt

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UNITED sATE DSTIIC COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:04-CR-20058 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

